

Grant v Joyce (2021 NY Slip Op 03549)





Grant v Joyce


2021 NY Slip Op 03549


Decided on June 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 08, 2021

Before: Kapnick, J.P., Singh, Moulton, González, JJ. 


Index No. 20198/18E Appeal No. 14026 Case No. 2020-03195 

[*1]Keith Grant, Plaintiff-Respondent,
vKayla M. Joyce et al., Defendants-Appellants.


Desena &amp; Sweeney, LLP, Bohemia (Paul J. Felicione and Brian P. Callahan of counsel), for appellants.
Greenberg Law P.C., New York (Robert J. Menna of counsel), for respondent.



Order, Supreme Court, Bronx County (Mary Ann Brigantti, J.), entered on or about June 15, 2020, which, to the extent appealed from as limited by the briefs, granted plaintiff's motion for summary judgment on the issue of liability, unanimously reversed, on the law, without costs, and the motion denied.
Plaintiff commenced this action for personal injuries he sustained in a motor vehicle accident at the intersection of North Broadway, a road that is not regulated by any traffic control device, and Park Drive East, a road that is controlled by a stop sign, in North Castle. At the time of the accident, plaintiff was travelling east on North Broadway and defendant driver Joyce was travelling north on Park Drive East. Plaintiff failed to make a prima facie showing that Joyce violated Vehicle and Traffic Law §§ 1142(a) and 1172(a) because the deposition transcripts and photographs submitted by plaintiff raise issues of fact as to whether Joyce properly entered the intersection before plaintiff, and whether at the time of the accident, Joyce had the right-of-way (see Luciano-Mahoney v Rossman, 191 AD3d 604 [1st Dept 2021]; Nevarez v S.R.M. Mgt. Corp., 58 AD3d 295, 297 [1st Dept 2008]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 8, 2021








